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lN THE UNlTED STATES D|STR|CT COURT H.EJ B'r.___ _______p,¢.;
FOR THE WESTERN D|STR|CT OF TENNESSEE
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UNlTED STATES OF Al\/|ER|CA, * Cl.Elilt, U.S. Di€iHiCTCOlHT
W/D OF TN. iliEMPHS
Plaintiff, *
vs. * Criminal No. 05-20011-l\/ia
JERR¥ W|LL|AM G|LBRA|TH, *
a/k/a Jay Gilbert *
Defendant. *

 

PREL|M|NARY ORDER OF FORFEITURE

 

ln indictment Number 05-20011-Ma, the United States sought forfeiture of specific
property of defendant Jerry William Gi|braith, a/k/a Jay Gi|bert, pursuant to 18 U.S.C. §§
2251 and 2252. On February 15, 2005, the defendant, Jerry William Gi|braith, a/k/a Jay
Gi|bert, entered a plea of guilty to Counts 1 - 3 and the forfeiture in Count 4 of the
|ndictment.
Accordingly, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1 - 3 and the forfeiture in
Count 4 of the indictment Number 05-20011-Ma, the United States is authorized to seize
the following property belonging to defendant Jerry Wiiliam Gilbraith, a/k/a Jay Gi|bert, and
his interest in it is hereby forfeited to the United States for disposition in accordance with
the law, subject to the provisions of 21 U.S.C. §853(n) and Rule 32(d)(2) of the Federal
Ru|es of Criminal Procedure:

a. Any visual depiction described in Section 2252 of Title 18 United

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States Code, and any bookl magazine, periodical, firm, videotape, and other matter Which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personall used or intended to be used to commit
or to promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) Compaq Presario, serial
number, MXK40316KF;

2) One (1) Panasonic digital video
recorder, serial number, B45A12389;

3) One (1) Dazzle Digita| video creator.

All pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marshal in his
secure custody, or, as may be necessary, the Attorney General may appoint a substitute
custodian.

3. F’ursuant to 21 U.S.C. §853(n)(1), the United States Marshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Shelby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney General or his delegate may direct.
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.

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This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioners right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought. The United States Marshal or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. lf no third party files a timely ciaim, this Order shall become the Finai Order
of Forfeiture. as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have cleartitle to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and

28 U.S.C. §2461(0), for the filing of third party petitions

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

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necessary, pursuant to Fed. R. Crim. P. 32.2(e).

A\~§\~S L

lT lS SO ORDERED this as & ‘ day Of , 2005.

SAMUEL H. MAYS, JR.
United States District Judge

 

 

PRESENTED BY:

TERRELL L. HARR|S
United States Attorney

Wtwrgfw

@RlSTOPHER E. COTTEN
Assistant United States Attorney

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|ViS|ON

UN|TED STATES OF AMER|CA, *
Plalntiff, *
vs. * Criminal No. 05-20011-|\/|3
JERRY WlLLlAM G|LBRA|TH, *
a/k/a Jay Gilbert *
Defendant. *

 

LEGAL NOTICE

 

Take notice that on , the United States District Court for the
Western District of Tennessee, Western Dlvision, entered a Preliminary Order of Forfeiture
ordering that all right, title and interest of the defendant Jerry Wiliiam Gi|braith, a/kfa Jay
Gi|bert in the following property be forfeited to the United States to be disposed of in
accordance with law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction1 which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any propertyl real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited to the
following:

1) One (1) Compaq Presario, serial
number, MXK40316KF;

2) One (1) Panasonic digital video
recorder, serial number, B45A12389;

3) One (1) Dazzle Digital video creator.

All pursuant to Title 18, United States Code, Sectlon 2253.

The United States intends to dispose of this property in such matter as the Attorney
General or his delegate may direct. Any person, other than the defendant, having or
claiming a legal interest in the above-listed forfeited property must file a petition with the
Court within thirty (30) days of the final publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioners alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioners right, title, or
interest in each of the forfeited properties and any additional facts supporting the

petitioners claim and relief sought.

   

 

   
  
 
 

UNITD s"sATE DISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 27 in
case 2:05-CR-200]1 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

